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 ROBERT K.W.H. NOBRIGA, TRUSTEES
 OF THE ESTATE OF BERNICE PAUAHI
 BISHOP

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAI`I

 HAROLD DENNIS WELLS,                          Case No. 1:23-cv-00575-JAO-BMK
 individually and on behalf of the heirs
 of REBECCA RANS,
                                               NOTICE OF APPEARANCE OF
                        Plaintiff,             COUNSEL FOR DEFENDANTS
                                               ELLIOT KAWAIHO‘OLANA
          vs.                                  MILLS, CRYSTAL KAUILANI
                                               ROSE, JENNIFER NOELANI
 MAUI ELECTRIC COMPANY,
                                               GOODYEAR-KA‘ŌPUA,
 LIMITED, et al.,
                                               MICHELLE KA‘UHANE,
                        Defendants.            ROBERT K.W.H. NOBRIGA,
                                               TRUSTEES OF THE ESTATE OF
                                               BERNICE PAUAHI BISHOP

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NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANTS ELLIOT
 KAWAIHO‘OLANA MILLS, CRYSTAL KAUILANI ROSE, JENNIFER
    NOELANI GOODYEAR-KA‘ŌPUA, MICHELLE KA‘UHANE,
   ROBERT K.W.H. NOBRIGA, TRUSTEES OF THE ESTATE OF
                BERNICE PAUAHI BISHOP

         Madisson L. Heinze of Dentons US LLP hereby gives notice of her

appearance as counsel for Defendants Elliot Kawaihoʻolani Mills, Crystal Kauilani

Rose, Jennifer Noelani Goodyear-Ka‘ōpua, Michelle Kaʻuhane, and Robert

K.W.H. Nobriga, Trustees of the Bernice Pauahi Bishop in the above-referenced

matter.

         DATED: Honolulu, Hawai`i, December 8, 2023.

                                        /s/ Madisson L. Heinze
                                       PAUL ALSTON
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                                       WENDY F. HANAKAHI
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                                       ROBERT K.W.H. NOBRIGA, TRUSTEES
                                       OF THE ESTATE OF BERNICE PAUAHI
                                       BISHOP




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